       Case 2:15-cr-00144-SMJ           ECF No. 757        filed 09/18/17      PageID.3175 Page 1 of 2
 PROB 12C                                                                          Report Date: September 18, 2017
(6/16)

                                       United States District Court

                                                       for the

                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Joshua M. Terpstra                        Case Number: 0980 2:15CR00144-SMJ-6
 Address of Offender:                       Spokane, WA, 99202
 Name of Sentencing Judicial Officer: The Honorable Salvador Mendoza, U.S. District Judge
 Date of Original Sentence: August 9, 2016
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. §§ 1349 and 1344
 Original Sentence:       Prison - 1 day                     Type of Supervision: Supervised Release
                          TSR - 24 months
 Asst. U.S. Attorney:     Allyson Edwards                    Date Supervision Commenced: August 9, 2016
 Defense Attorney:        Federal Defender’s Office         Date Supervision Expires: August 8, 2018

                                          PETITIONING THE COURT

                To incorporate the violation(s) contained in this petition in future proceedings with the
violation(s) previously reported to the Court on 08/28/2017.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            4           Special Condition # 20: The defendant shall abstain from the use of illegal controlled
                        substances, and shall submit to urinalysis and sweat patch testing, as directed by the
                        supervising officer, but no more than 6 tests per month, in order to confirm continued
                        abstinence from these substances.

                        Supporting Evidence: On August 12, 2016, Mr. Terpstra’s conditions of supervised
                        released were explained to him. On July 17, 2017, the undersigned officer reviewed the
                        conditions of supervision again with Mr. Terpstra. He verified he still understood all of his
                        conditions.

                        On August 29, 2017, the undersigned officer called Mr. Terpstra and he disclosed his
                        continued use of methamphetamine. Mr. Terpstra was directed to report to the U.S.
                        Probation Office on August 30, 2017.

                        Mr. Terpstra reported as directed and signed a drug use admission form stating he used
                        methamphetamine from August 23 to August 29, 2017.
     Case 2:15-cr-00144-SMJ            ECF No. 757        filed 09/18/17      PageID.3176 Page 2 of 2
Prob12C
Re: Terpstra, Joshua M
September 18, 2017
Page 2

          5           Special Condition # 20: The defendant shall abstain from the use of illegal controlled
                      substances, and shall submit to urinalysis and sweat patch testing, as directed by the
                      supervising officer, but no more than 6 tests per month, in order to confirm continued
                      abstinence from these substances.

                      Supporting Evidence: On August 12, 2016, Mr. Terpstra's conditions of supervised released
                      were explained to him. On July 17, 2017, the undersigned officer reviewed the conditions
                      of supervision again with Mr. Terpstra. He verified he still understood all of his conditions.

                      On September 6, 2017, Mr. Terpstra reached out to the undersigned officer and asked to
                      have a meeting. A meeting was scheduled for September 8, 2017.

                      Mr. Terpstra reported on September 8, 2017, and disclosed he used methamphetamine on
                      August 30, 2017, and September 2 through September 8, 2017.

                      He signed a drug use admission form reflecting these dates of illegal drug use.

It is respectfully recommended that the Court incorporate the violation(s) contained in this petition in all future
proceedings with the violation(s) previously reported to the Court.

                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                           Executed on:      09/18/2017
                                                                             s/Joshua D. Schull
                                                                             Joshua D. Schull
                                                                             U.S. Probation Officer

 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [X ]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [X ]     Defendant to appear before the Magistrate Judge.
 [ ]      Other
                                                                             Signature
                                                                               gnature of Judicial Officer

                                                                                     09/18/2017
                                                                             Date
